                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

UNITED STATES OF AMERICA,
              Plaintiff,                            No. 07-CR-4084-DEO
vs.                                         ORDER
                                    ACCEPTING REPORT AND
OLIVIERO VALENZUELA-GOMEZ,
                                 RECOMMENDATION CONCERNING
         Defendant.                      GUILTY PLEA
                    ____________________

                     I.    INTRODUCTION AND BACKGROUND

      On November 28, 2007, a six count Indictment (Docket No.

6) was returned in the above-referenced case.                    Only Counts 1,

2, 3, 5, and 6 pertain to defendant Oliviero Valenzuela-Gomez.

      Count    1    of     the    Indictment     charges    that      other    named

defendants     and        defendant    Oliviero      Valenzuela-Gomez,         from

between about June 2007 and continuing through November 1,

2007, in the Northern District Of Iowa and elsewhere, did

knowingly and unlawfully combine, conspire, confederate and

agree with each other and other persons, known and unknown to

the Grand Jury, to distribute 500 grams or more of a mixture

or     substance           containing       a       detectable        amount        of

methamphetamine,           a     Schedule   II   controlled      substance,         in

violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A).



     Case 5:07-cr-04084-DEO-LTS       Document 55    Filed 04/08/08   Page 1 of 5
    This was in violation of Title 21, United States Code,

Sections 846.

    Count 2 of the Indictment charges that on or about June

18, 2007, in the Northern District of Iowa, other named

defendants     and   defendant    Oliviero         Valenzuela-Gomez,              did

knowingly and intentionally distribute 50 grams or more of a

mixture   or   substance      containing      a    detectable         amount      of

methamphetamine, a Schedule II controlled substance.

    This was in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(B).

    Count 3 of the Indictment charges that on or about June

28, 2007, in the Northern District of Iowa, defendant Oliviero

Valenzuela-Gomez did knowingly and intentionally distribute 50

grams   or   more    of   a   mixture   or    substance            containing       a

detectable amount of methamphetamine, a Schedule II controlled

substance.

    This was in violation of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(B).

    Count 5 of the Indictment charges that on or about August

14, 2007, in the Northern District of Iowa, defendant Oliviero

Valenzuela-Gomez did knowingly and intentionally distribute a

mixture   or   substance      containing      a    detectable         amount      of



                                    2


   Case 5:07-cr-04084-DEO-LTS   Document 55       Filed 04/08/08    Page 2 of 5
methamphetamine, a Schedule II controlled substance.

       This was in violation of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(C).

       Count 6 of the Indictment charges that on or about

October 30, 2007, in the Northern District of Iowa, an other

named defendant and defendant Oliviero Valenzuela-Gomez did

knowingly and intentionally distribute 50 grams or more of a

mixture      or   substance    containing        a    detectable       amount       of

methamphetamine, a Schedule II controlled substance.

       This was in violation of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(B).

       On March 3, 2008, defendant Oliviero Valenzuela-Gomez

appeared before Chief United States Magistrate Judge Paul A.

Zoss and entered a plea of guilty to Counts 1, 2, 3, 5, and 6

of the Indictment.         In the Report and Recommendation (Docket

No. 40, 03/04/2008), Chief United States Magistrate Judge Paul

A. Zoss recommends that defendant Oliviero Valenzuela-Gomez’s

guilty plea be accepted. No objections to Judge Zoss’s Report

and     Recommendation      were    filed.           The   Court,      therefore,

undertakes the necessary review to accept defendant Oliviero

Valenzuela-Gomez’s plea in this case.




                                       3


      Case 5:07-cr-04084-DEO-LTS   Document 55       Filed 04/08/08   Page 3 of 5
                            II.    ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).          Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.

FED. R. CIV. P. 72(b).

    In this case, no objections have been filed, and it

appears to the Court upon review of Chief Magistrate Judge

Zoss’s findings and conclusions that there are no grounds to

                                    4


   Case 5:07-cr-04084-DEO-LTS   Document 55   Filed 04/08/08   Page 4 of 5
reject or modify them.

    IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief   Magistrate    Judge     Zoss’s   Report    and    Recommendation

(Docket No. 40), and accepts defendant Oliviero Valenzuela-

Gomez’s pleas of guilty in this case to Counts 1, 2, 3, 5, and

6 of the Indictment filed on November 28, 2007 (Docket No. 6).

    IT IS SO ORDERED this 8th day of April, 2008.


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                                  Donald E. O’Brien, Senior Judge
                                  United States District Court
                                  Northern District of Iowa




                                    5


   Case 5:07-cr-04084-DEO-LTS   Document 55   Filed 04/08/08   Page 5 of 5
